Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 1 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 2 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 3 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 4 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 5 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 6 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 7 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 8 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 9 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 10 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 11 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 12 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 13 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 14 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 15 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 16 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 17 of 18
Case 2:14-cv-00368 Document 1-3 Filed on 09/04/14 in TXSD Page 18 of 18
